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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division


JANE DOE, individually and on behalf
of her minor daughter, SUSAN DOE;
BRENDA BOE, individually and on
behalf of her minor son BENNETT
BOE; CARLA COE, individually and
on behalf of her minor daughter
CHRISTINA COE; FIONA FOE,                     Civil No. 4:23-cv-00114-RH-MAF
individually and on behalf of her minor
daughter FREYA FOE; GLORIA GOE,
individually and on behalf of her minor
son GAVIN GOE; and LINDA LOE,
individually and on behalf of her minor
daughter LISA LOE; PATRICIA POE,
individually and on behalf of her minor
son PAUL POE,

            Plaintiffs,

                     v.

JOSEPH A. LADAPO, in his official capacity
 as Florida’s Surgeon General
of the Florida Department of Health;
FLORIDA BOARD OF MEDICINE;
SCOT ACKERMAN, NICHOLAS W.
ROMANELLO, WAEL BARSOUM,
MATTHEW R. BENSON, GREGORY
COFFMAN, AMY DERICK, DAVID
DIAMOND, PATRICK HUNTER,
LUZ MARINA PAGES, ELEONOR
PIMENTEL, HECTOR VILA,
MICHAEL WASYLIK, ZACHARIAH P.
ZACHARIAH, MARIA GARCIA,
NICOLE JUSTICE, in their official
capacities as members of the Florida

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Board of Medicine; FLORIDA BOARD
OF OSTEOPATHIC MEDICINE;
WATSON DUCATEL, TIFFANY
SIZEMORE DI PIETRO, GREGORY
WILLIAMS, MONICA M.
MORTENSEN, VALERIE JACKSON,
CHRIS CREEGAN, WILLIAM D.
KIRSH, in their official capacities as
members of the Florida Board of
Osteopathic Medicine; ASHLEY
MOODY, in her official capacity as
Attorney General for the State of
Florida; GINGER BOWEN
MADDEN, in her official capacity
as State Attorney for the First
Judicial Circuit of Florida; JACK
CAMPBELL, in his official capacity
as State Attorney for the Second
Judicial Circuit of Florida; JOHN
DURRETT, in his official capacity
as State Attorney for the Third
Judicial Circuit of Florida;
MELISSA NELSON, in her official
capacity as State Attorney for the
Fourth Judicial Circuit of Florida;
WILLIAM GLADSON, in his
official capacity as State Attorney for
the Fifth Judicial Circuit of Florida;
BRUCE BARTLETT, in his official
capacity as State Attorney for the
Sixth Judicial Circuit of Florida; R.J.
LARIZZA, in his official capacity as
State Attorney for the Seventh
Judicial Circuit of Florida; BRIAN
S. KRAMER, in his official capacity
as State Attorney for the Eighth
Judicial Circuit of Florida;
MONIQUE H. WORRELL, in her
official capacity as State Attorney for
the Ninth Judicial Circuit of Florida;
BRIAN HAAS, in his official
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capacity as State Attorney for the
Tenth Judicial Circuit of Florida;
KATHERINE FERNANDEZ
RUNDLE, in her official capacity as
State Attorney for the Eleventh
Judicial Circuit of Florida; ED
BRODSKY, in his official capacity
as State Attorney for the Twelfth
Judicial Circuit of Florida; SUSAN
S. LOPEZ, in her official capacity as
State Attorney for the Thirteenth
Judicial Circuit of Florida; LARRY
BASFORD, in his official capacity
as State Attorney for the Fourteenth
Judicial Circuit of Florida; DAVE
ARONBERG, in his official capacity
as State Attorney for the Fifteenth
Judicial Circuit of Florida; DENNIS
WARD, in his official capacity as
State Attorney for the Sixteenth
Judicial Circuit of Florida;
HAROLD F. PRYOR, in his official
capacity as State Attorney for the
Seventeenth Judicial Circuit of
Florida; PHIL ARCHER, in his
official capacity as State Attorney for
the Eighteenth Judicial Circuit of
Florida; THOMAS BAKKEDAHL,
in his official capacity as State
Attorney for the Nineteenth Judicial
Circuit of Florida; and AMIRA D.
FOX, in her official capacity as State
Attorney for the Twentieth Judicial
Circuit of Florida,

             Defendants.
                                              /


                   SECOND AMENDED COMPLAINT
             FOR DECLARATORY AND INJUNCTIVE RELIEF

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                         PRELIMINARY STATEMENT

      1.     This Action is a federal constitutional challenge brought by transgender

adolescents and their parents against the bans on medical care for transgender minors

adopted by the Florida Boards of Medicine and Osteopathic Medicine (“Medical

Boards”) and by the Florida Legislature in Senate Bill 254 (“SB 254”), (collectively,

the “transgender medical bans”). The bans adopted by the Medical Boards are effective

as of March 16, 2023 (Board of Medicine, Rule 64B8-9.019, Fla. Admin. Code) and

March 28, 2023 (Board of Osteopathic Medicine, Rule 64B15-14.014, Fla. Admin.

Code). The ban created by SB 254 came into effect on May 17, 2023, when it was

signed into law.

      2.     The transgender medical bans violate the rights of parents to make

medical decisions to ensure the health and wellbeing of their adolescent children. They

prohibit parents from seeking and obtaining effective medical treatment in Florida for

their adolescent children by prohibiting doctors from providing medications to

adolescents in accordance with the standards of care and clinical practice guidelines

for treatment of a rare and serious medical condition, gender dysphoria.

      3.     The transgender medical bans also violate the guarantees of equal

protection by banning essential medical treatments needed by the adolescent Plaintiffs

because they are transgender.

      4.     Defendants cannot demonstrate any rational basis, much less an

important or compelling one, for the transgender medical bans which prevent
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transgender adolescents from obtaining safe and effective medically necessary

healthcare.

       5.     The plaintiffs seek declaratory and injunctive relief to enjoin

enforcement of the transgender medical bans. Without the relief sought, plaintiffs will

suffer real and immediate injury.

                                       PARTIES

I. Transgender Plaintiffs and Their Parents

       6.     Plaintiff Jane Doe is and has at all relevant times been a resident of St.

Johns County, Florida. She is the mother of Plaintiff Susan Doe, an eleven-year-old

transgender girl for whom she also appears in this case as next friend. Susan Doe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Jane

Doe.

       7.     Plaintiff Brenda Boe is and has at all relevant times been a resident of

Alachua County, Florida. She is the mother of Plaintiff Bennett Boe, a fourteen- year-

old transgender boy for whom she also appears in this case as next friend. Bennett

Boe sues pursuant to Federal Rule of Civil Procedure 17(c) by and through his parent

Brenda Boe.

       8.     Plaintiff Carla Coe is and has at all relevant times been a resident of Duval

County, Florida. She is the mother of Plaintiff Christina Coe, a nine -year-old

transgender girl for whom she also appears in this case as next friend. Christina Coe

sues pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent
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Carla Coe.

       9.    Plaintiff Fiona Foe is and has at all relevant times been a resident of

Orange County, Florida. She is the mother of Plaintiff Freya Foe, a ten-year-old

transgender girl for whom she also appears in this case as next friend. Freya Foe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Fiona Foe.

       10.   Plaintiff Gloria Goe is and has at all relevant times been a resident of Lee

County, Florida. She is the mother of Gavin Goe, an eight-year-old transgender boy

for whom she also appears in this case as next friend. Gavin Goe sues pursuant to

Federal Rule of Civil Procedure 17(c) by and through his parent Gloria Goe.

       11.   Plaintiff Linda Loe is and has at all relevant times been a resident of

Miami-Dade County, Florida. She is the mother of Lisa Loe, an eleven-year-old

transgender girl for whom she also appears in this case as next friend. Lisa Loe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Linda

Loe.

       12.   Plaintiff Patricia Poe is and has at all relevant times been a resident of

Miami-Dade County, Florida. She is the mother of Paul Poe, a nine-year-old

transgender boy for whom she also appears in this case as next friend. Paul Poe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through his parent Patricia

Poe.

II.    Defendants

       13.   Defendant Joseph Ladapo, M.D., is sued in his official capacity as the
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Surgeon General of the Florida Department of Health, which is responsible for

“protect[ing] and promot[ing] the health” of all Floridians. Fla. Stat. § 20.43 (2022).

The Surgeon General is appointed by the Governor and serves at the pleasure of the

Governor. Fla. Stat. § 20.43(2) (2022). Defendant Ladapo, in his official capacity as

Surgeon General of the Florida Department of Heatlh, initiated the process of the

promulgation of the transgender medical bans pursuant to the authority granted by Fla.

Stat. § 20.43(g) (2022), regarding the regulation of health practitioners. Defendant

Ladapo’s official place of business is located in Tallahassee, Leon County, Florida.

     14.     Defendant Scot Ackerman, M.D., is a member of the Florida Board of

Medicine.

     15.     Defendant Nicholas W. Romanello, Esq., is a member of the Florida

Board of Medicine.

     16.     Defendant Wael Barsoum, M.D., is a member of the Florida Board of

Medicine.

     17.     Defendant Matthew R. Benson, M.D., is a member of the Florida Board of

Medicine.

     18.     Defendant Gregory Coffman, M.D., is a member of the Florida Board of

Medicine.

     19.     Defendant Amy Derick, M.D., is a member of the Florida Board of

Medicine.

     20.     Defendant David Diamond, M.D., is a member of the Florida Board of
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Medicine.

     21.    Defendant Patrick Hunter, M.D., is a member of the Florida Board of

Medicine.

     22.    Defendant Luz Marina Pages, M.D., is a member of the Florida Board of

Medicine.

     23.    Defendant Eleonor Pimentel, M.D., is a member of the Florida Board of

Medicine.

     24.    Defendant Hector Vila M.D., is a member of the Florida Board of

Medicine.

     25.    Defendant Michael Wasylik, M.D., is a member of the Florida Board of

Medicine.

     26.    Defendant Zachariah P. Zachariah, M.D., is a member of the Florida

Board of Medicine.

     27.    Defendant Maria Garcia, Esq., is a member of the Florida Board of

Medicine.

     28.    Defendant Nicole Justice is a member of the Florida Board of Medicine.

     29.    Defendant Watson Ducatel, D.O., is a member of the Florida Board of

Osteopathic Medicine.

     30.    Defendant Tiffany Sizemore Di Pietro, D.O., is a member of the Florida

Board of Osteopathic Medicine.

     31.    Defendant Gregory Williams, D.O., is a member of the Florida Board of
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Osteopathic Medicine.

     32.     Defendant Monica M. Mortensen, D.O., is a member of the Florida Board

of Osteopathic Medicine.

     33.     Defendant Valerie Jackson is a member of the Florida Board of

Osteopathic Medicine.

     34.     Defendant Chris Creegan is a member of the Florida Board of Osteopathic

Medicine.

     35.     Defendant William D. Kirsh, D.O., is a member of the Florida Board of

Osteopathic Medicine.

     36.     The Florida Board of Medicine is made up of fifteen members who are

appointed by the Governor. Fla. Stat. § 458.307(1) (2022). Defendant members of the

Florida Board of Medicine, in their official capacities, each separately and

independently took actions to promulgate Fla. Admin. Code 64B-9.019 pursuant to

their rulemaking authority under Fla. Stat. §§ 458.309 and 458.331(1)(v) (2022).

Further, Defendant members of the Florida Board of Medicine, in their official

capacities, each has the authority to enforce Fla. Admin. Code 64B-9.019, including

taking disciplinary action against any doctor for violating its provisions. Fla. Stat. §

456.072. The Florida Board of Medicine is based and headquartered in, and the official

place of business for the Defendant members of the Florida Board of Medicine is,

Tallahassee, Leon County, Florida.

     37.     The Florida Board of Osteopathic Medicine is made up of seven members
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who are appointed by the Governor. Fla. Stat. § 459.004(1) (2022). Defendant

members of the Florida Board of Osteopathic Medicine, in their official capacities,

each separately and independently took actions to promulgate Fla. Admin. Code

64B15-14.014 pursuant to their rulemaking authority under Fla. Stat.

§§ 459.005 and 459.015(1)(z) (2022). Further, Defendant members of the Florida

Board of Osteopathic Medicine, in their official capacities, each has the authority to

enforce Fla. Admin. Code 64B15-14.014, including taking disciplinary action against

any doctor for violating its provisions. Fla. Stat. § 456.072. The Florida Board of

Osteopathic Medicine is based and headquartered in, and the official place of business

for the Defendant members of the Florida Board of Osteopathic Medicine is,

Tallahassee, Leon County, Florida.

      38.     Defendant Ashley Moody is the Attorney General for the State of Florida.

Defendant Moody, in her official capacity as Attorney General, is the “chief state legal

officer.” Fla. Const. Art. IV, § 4(b). Pursuant to Fla. Stat. § 16.08, Defendant Moody

exercises general superintendence and direction over the state attorneys as to the

manner of discharging their respective duties.

      39.     Defendant Ginger Bowen Madden is the State Attorney for Florida’s First

Judicial District.

      40.     Defendant Jack Campbell is the State Attorney for Florida’s Second

Judicial District.

      41.     Defendant John Durrett is the State Attorney for Florida’s Third Judicial
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District.

      42.     Defendant Melissa Nelson is the State Attorney for Florida’s Fourth

Judicial District.

      43.     Defendant William Gladson is the State Attorney for Florida’s Fifth

Judicial District.

      44.     Defendant Bruce Bartlett is the State Attorney for Florida’s Sixth Judicial

District.

      45.     Defendant R.J. Larizza is the State Attorney for Florida’s Seventh

Judicial District.

      46.     Defendant Brian S. Kramer is the State Attorney for Florida’s Eighth

Judicial District.

      47.     Defendant Monique H. Worrell is the State Attorney for Florida’s Ninth

Judicial District.

      48.     Defendant Brian Haas is the State Attorney for Florida’s Tenth Judicial

District.

      49.     Defendant Katherine Fernandez Rundle is the State Attorney for Florida’s

Eleventh Judicial District.

      50.     Defendant Ed Brodsky is the State Attorney for Florida’s Twelfth Judicial

District.

      51.     Defendant Susan S. Lopez is the State Attorney for Florida’s Thirteenth

Judicial District.
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      52.     Defendant Larry Basford is the State Attorney for Florida’s Fourteenth

Judicial District.

      53.     Defendant Dave Aronberg is the State Attorney for Florida’s Fifteenth

Judicial District.

      54.     Defendant Dennis Ward is the State Attorney for Florida’s Sixteenth

Judicial District.

      55.     Defendant Harold F. Pryor is the State Attorney for Florida’s Seventeenth

Judicial District.

      56.     Defendant Phil Archer is the State Attorney for Florida’s Eighteenth

Judicial District.

      57.     Defendant Thomas Bakkedahl is the State Attorney for Florida’s

Nineteenth Judicial District.

      58.     Defendant Amira D. Fox is the State Attorney for Florida’s Twentieth

Judicial District.

                           JURISDICTION AND VENUE

      59.     The Plaintiffs seek redress for the deprivation of their rights secured by

the United States Constitution. This Action is initiated pursuant to 42 U.S.C. § 1983 to

enjoin the Defendants from enforcing the transgender medical bans and for a

declaration that the transgender medical bans violate federal law.

      60.     This Court has subject matter jurisdiction over the claims asserted herein

pursuant to 28 U.S.C. §§ 1331 and 1343.
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     61.     This Court has personal jurisdiction over the Defendants because the

Defendants are domiciled in Florida and the denial of the Plaintiffs’ rights guaranteed

by federal law arises out of and relates to the Defendants’ official duties in Florida.

     62.     Each of the Defendants is a resident of the State of Florida and serve in

their official capacity for a government office for the State of Florida. Therefore, venue

is proper in this district pursuant to 28 U.S.C. § 1391(b)(1).

     63.     If enforced, the transgender medical bans would violate the constitutional

rights of the Plaintiffs in this judicial district. Therefore, venue is also proper in this

district pursuant to 28 U.S.C. § 1391(b)(2).

     64.     Venue is proper in the Tallahassee Division of the Northern District of

Florida under N.D. Fla. Loc. R. 3.1(B) because it is the location of the principal place of

business for a majority of the Defendants and where a substantial portion of the acts

or omissions complained of herein occurred.

     65.     This Court has authority to enter a declaratory judgment and to provide

preliminary and permanent injunctive relief pursuant to Fed. R. Civ. P. 57 and 65, 28

U.S.C. §§ 2201 and 2202, and this Court’s inherent equitable powers.

                               FACTUAL ALLEGATIONS

I. Gender Identity and Gender Dysphoria

     66.     Gender identity is an innate, internal sense of one’s sex and is an

immutable aspect of a person’s identity. It is an essential element of human identity

and a well-established concept in medicine. Everyone has a gender identity. Most
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people’s gender identity is consistent with their birth sex. Transgender people,

however, have a gender identity that differs from their birth sex. Being made to live

inconsistent with a person’s gender identity causes discomfort and distress and can

interfere with a person’s ability to function in a productive and healthy way in matters

of daily living.

      67.     Gender dysphoria is the clinical diagnosis for the distress that arises

when a transgender person cannot live consistent with their gender identity. To be

eligible for a diagnosis of gender dysphoria, a young person must meet the criteria

set forth in the American Psychiatric Association’s Diagnostic and Statistical Manual

of Mental Disorders, Fifth Edition (the “DSM-5”).1 If left untreated, gender dysphoria

can cause anxiety, depression, and self-harm, including suicidality.

      68.     In fact, 56% of transgender youth reported a previous suicide attempt

and 86% of them reported suicidality. See Ashley Austin, Shelley L. Craig, Sandra

D. Souza, and Lauren B. McInroy (2022), Suicidality Among Transgender Youth:

Elucidating the Role of Interpersonal Risk Factors, J. of Interpersonal Violence, Vol.

37 (5-6) NP2696-NP2718.

      69.     Research has shown that an individual’s gender identity is hard-wired




1
  Earlier editions of the DSM included a diagnosis referred to as “Gender Identity Disorder.” The
DSM-5 noted that Gender Dysphoria “is more descriptive than the previous DSM-IV term gender
identity disorder and focuses on dysphoria as the clinical problem, not identity per se. Being
diagnosed with gender dysphoria “implies no impairment in judgment, stability, reliability, or
general social or vocational capabilities.” Am. Psychiatric Ass’n, Position Statement on
Discrimination Against Transgender & Gender Variant Individuals (2012).
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and cannot be changed. In the past, mental health professionals sought to treat gender

dysphoria by attempting to change the person’s gender identity to match their birth

sex; these efforts were unsuccessful and caused serious harms. Today, the medical

profession recognizes that such efforts put transgender minors at risk of profound

harm, including dramatically increased rates of suicidality.

     70.     Gender dysphoria is highly treatable. Healthcare providers who

specialize in the treatment of gender dysphoria follow well-established standards of

care and clinical practice guidelines that have been adopted by the major medical and

mental health associations in the United States including, but not limited to, the

American Medical Association, the American Academy of Pediatrics, the American

Association of Child and Adolescent Psychiatrists, the Pediatric Endocrine Society,

the American Psychiatric Association, the American Psychological Association, and

the Endocrine Society.

     71.     The standards of care for treatment of transgender people, including

transgender youth, were initially developed by the World Professional Association

for Transgender Health (“WPATH”), an international, multidisciplinary, professional

association of medical providers, mental health providers, researchers, and others,

with a mission of promoting evidence-based care and research for transgender health,

including the treatment of gender dysphoria. WPATH published the most recent

edition of its standards of care for the treatment of gender dysphoria in minors and

adults in 2022, Standards of Care for the Health of Transgender and Gender Diverse
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People, Version 8. (Coleman E, Radix AE, Bouman WP et al. Standards of Care for

the Health of Transgender and Gender Diverse People, Version 8. Int J Transgend

2022 Sep 6;23 (suppl 1): S1-S259.)

     72.     The Endocrine Society has also promulgated a standard of care and

clinical practice guidelines for the provision of hormone therapy as a treatment for

gender dysphoria in minors and adults. See Wylie C. Hembree, et al., Endocrine

Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society

Clinical Practice Guideline, 102 J. Clin. Endocrinol. Metab. 3869 (2017).

     73.     The American Medical Association, the American Academy of

Pediatrics, the American Association of Child and Adolescent Psychiatrists, the

Pediatric Endocrine Society, the American Psychiatric Association, the American

Psychological Association, and other professional medical organizations also follow

the WPATH and Endocrine Society standards of care and clinical practice guidelines.

     74.     The treatment of gender dysphoria is designed to reduce a transgender

person’s clinically significant distress by permitting them to live in alignment with

their gender identity. Undergoing treatment for gender dysphoria is commonly

referred to as “transition,” “gender transition,” or “gender affirming care.” There are

several components to the gender transition process.

     75.     The precise treatment of gender dysphoria depends on an individualized

assessment of a patient’s needs.

     76.     Social transition involves a transgender person taking measures to live
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in accordance with their gender identity in all aspects of life. For transgender boys, it

means living fully as a boy; for transgender girls, it means living fully as a girl. Social

transition can include adopting a name, pronouns, hairstyle, and clothing consistent

with that person’s gender identity. The steps a transgender person takes as part of

their social transition help align their gender identity with all aspects of everyday life.

     77.     Gender transition may also involve taking prescribed medications,

puberty blockers and hormones, to bring a person’s body into alignment with their

gender identity.

     78.     There are no medications prescribed to transgender children before they

have begun puberty.

     79.     For a transgender adolescent who has begun puberty, puberty-blocking

medication prevents the patient from going through the physical developments

associated with puberty that exacerbate the distress experienced by the incongruence

between the patient’s gender identity and their body. As such, under the WPATH

Standards of Care and clinical practice guidelines, puberty-blocking medication may

become medically necessary and appropriate after a transgender adolescent reaches

puberty to minimize or prevent the exacerbation of gender dysphoria and the

permanent physical changes that puberty would cause. In providing medical

treatments to adolescents, pediatric physicians and endocrinologists work in close

consultation with qualified mental health professionals experienced in the diagnosis

and treatment of gender dysphoria.
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     80.     For older transgender adolescents, hormone therapy may also be

medically necessary to bring their body into alignment with their gender identity and

further treat the gender dysphoria they may experience without treatment.

     81.     The treatment for gender dysphoria is highly effective. Longitudinal

studies have shown that transgender children with gender dysphoria who receive

essential medical care, including puberty blockers and hormones, show levels of

mental health and stability consistent with those of non-transgender children. Lily

Durwood, et al., Mental Health and Self-Worth in Socially Transitioned Transgender

Youth, 56 J. Am. Acad. Child & Adolescent Psychiatry 116 (2017); Kristina Olson,

et al., Mental Health of Transgender Children Who are Supported in Their Identities,

137 Pediatrics 1 (2016). In contrast, transgender children with gender dysphoria who

do not receive appropriate medical care are at risk of serious harm, including

dramatically increased rates of suicidality and serious depression.

II. The Bans Adopted by the Boards

     82.     On June 2, 2022, Defendant Ladapo sent a letter to the Florida Board of

Medicine and the Florida Board of Osteopathic Medicine (collectively, the “Boards”)

asking the Boards to “establish a standard of care” for the treatment of gender

dysphoria, notwithstanding the widely accepted standards of care and clinical practice

guidelines established by WPATH and the Endocrine Society.

     83.     On July 28, 2022, the Florida Department of Health sent the Boards a

“Petition to Initiate Rulemaking,” asking the Board, among other things, to adopt a
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categorical ban on all treatment of gender dysphoria for people under eighteen years of

age.

       84.   On August 5, 2022, the Boards discussed the June 2, 2022 letter from Dr.

Lapado and the July 28, 2022 Petition to Initiate Rulemaking. The Boards voted to

accept the Petition to Initiate Rulemaking.

       85.   On September 1, 2022, the Boards each published a Notice of

Development of Rulemaking in the Florida Administrative Register (F.A.R.),

proposing “rule development to clarify the practice standards for treatment of gender

dysphoria in minors.”

       86.   On October 14, 2022, the Boards each published a Notice of Rule

Workshop, which would take place on October 28, 2022.

       87.   On October 28, 2022, the Boards held a Joint Workshop regarding the

development of a rule related to “Practice Standards for the Treatment of Gender

Dysphoria.” At the conclusion of the meeting, the Boards voted in support of proposed

rules that would ban puberty blockers and hormones, with an exception for treatment

performed as clinical trials under the auspices of the Institutional Review Board. The

proposed rules were as follows:

        (1) The following therapies and procedures performed for the
        treatment of gender dysphoria in minors are prohibited.
              (a) Sex reassignment surgeries, or any other surgical procedures,
              that alter primary or secondary sexual characteristics.
              (b) Puberty blocking, hormone, and hormone antagonist
              therapies.
        (2) Nonsurgical treatments for the treatment of gender dysphoria in
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       minors may continue to be performed under the auspices of Institutional
       Review Board (IRB) approved, investigator-initiated clinical trials
       conducted at any of the Florida medical schools set forth in Section
       458.3145(1)(i), Florida Statutes. Such clinical trials must include long
       term longitudinal assessments of the patients’ physiologic and
       psychologic outcomes.
       (3) Minors being treated with puberty blocking, hormone, or hormone
       antagonist therapies prior to the effective date of this rule may continue
       with such therapies.

     88.    On November 4, 2022 the Florida Board of Medicine voted to remove the

exception from its proposed transgender medical ban.

     89.    On January 9, 2023, the Boards published Notices of Public Hearing in

the Florida Administrative Register, regarding a joint hearing of the Boards scheduled

to take place on February 10, 2023.

     90.    On February 10, 2023, during the Public Hearing, the Florida Board of

Osteopathic Medicine voted to remove the exception from its proposed transgender

medical bans.

     91.    The Florida Board of Medicine filed the following rule with the Florida

Department of State on February 24, 2023, with an effective date of March 16, 2023:

                (1) The following therapies and procedures performed for the
                treatment of gender dysphoria in minors are prohibited.
                      (a) Sex reassignment surgeries, or any other surgical
                      procedures, that alter primary or secondary sexual
                      characteristics.
                      (b) Puberty blocking, hormone, and hormone antagonist
                      therapies.
                (2) Minors being treated with puberty blocking, hormone, or
                hormone antagonist therapies prior to the effective date of this
                rule may continue with such therapies.


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      92.     The Florida Board of Osteopathic Medicine filed the following rule with

the Florida Department of State on March 8, 2023, with an effective date of March

28, 2023:

            (1) The following therapies and procedures performed for the
                treatment of gender dysphoria in minors are prohibited.
                      (a) Sex reassignment surgeries, or any other surgical
                      procedures, that alter primary or secondary sexual
                      characteristics.
                      (b) Puberty blocking, hormone, and hormone antagonist
                      therapies.
            (2) Minors being treated with puberty blocking, hormone, or
                hormone antagonist therapies prior to the effective date of this
                rule may continue with such therapies.

     93.      The transgender medical bans include a clause that permits minors being

treated with puberty blockers or hormones prior to the effective date of the transgender

medical bans to continue to receive those treatments.

     94.      Transgender minors who were not yet receiving puberty blockers or

hormones when the transgender medical bans took effect are barred from obtaining

such treatment from a Florida doctor regardless of medical necessity.

     95.      The transgender medical bans ignore the established medical and

scientific consensus that these treatments are medically necessary, safe, and effective for

the treatment of gender dysphoria.

     96.      The transgender medical bans are in direct conflict with state laws

ensuring that parents have the right to make medical decisions for their adolescent

children. See Florida Statutes 1014.02 (which provides that “it is a fundamental right of


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parents to direct the upbringing, education, and care of their minor children.”); Florida

Statutes 1014.03 (“The state, any of its political subdivisions, any other governmental

entity, or any other institution may not infringe on the fundamental rights of a parent

to direct the upbringing, education, health care, and mental health of his or her minor

child[.]”) (emphasis added).

III. The Ban Created by SB 254

      97.    On May 4, 2023, the Florida Legislature voted to pass SB 254.

      98.    On May 17, 2023, Florida Governor Ron DeSantis signed into law SB

254, which imposes felony criminal penalties, as well as professional discipline and

civil liability, on any health care practitioner who prescribes or administers puberty

blocking medications or hormone therapy to a minor “in order to affirm a person’s

perception of his or her sex if that perception is inconsistent with the person’s [birth]

sex.” Fla. SB 254, § 4, lines 109–16 (2023) (Second Engrossed).

      99.    Section 4 defines “sex” as the “classification of a person as either male

or female based on the organization of the human body of such person for a specific

reproductive role, as indicated by the person’s sex chromosomes, naturally occurring

sex hormones, and internal and external genitalia present at birth.” Id. at § 4, lines

102–06.

      100.   Section 4 bars the provision of transition-related care to minors: “Sex-

reassignment prescriptions and procedures are prohibited for patients younger than 18

years of age[.]” Id. at § 4, line 107.
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     101.    Section 4 defines the prohibited care as the “prescription or

administration of puberty blockers for the purpose of attempting to stop or delay

normal puberty in order to affirm a person’s perception of his or her sex if that

perception is inconsistent with the person’s sex” at birth and the “prescription or

administration of hormones or hormone antagonists to affirm a person’s perception of

his or her sex if that perception is inconsistent with the person’s sex” at birth. Id. at §

4, lines 109–13; 114–16.

     102.    Section 5 directs the Boards of Medicine and Osteopathic Medicine to

create rules permitting the continued treatment of minors receiving transition-related

care before the new law takes effect: “The Board of Medicine and the Board of

Osteopathic Medicine shall, within 60 days after the effective date of this act, adopt

emergency rules pertaining to standards of practice under which a patient younger than

18 years of age may continue to be treated with a prescription consistent with those

referenced under s. 456.001(9)(a)1. or 2. if such treatment for sex reassignment was

commenced before, and is still active on, the effective date of this act.” Id. at § 5, lines

154–61.

     103.    Section 5 provides: “A patient meeting the criteria of paragraph (a) may

continue to be treated by a physician with such prescriptions according to rules adopted

under paragraph (a) or nonemergency rules adopted under paragraph (6)(b).” Id. at §

5, line 171–74.

     104.    Section 5 provides that violation of the prohibition on providing sex-
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reassignment prescriptions and procedures “constitutes grounds for disciplinary action

under this chapter and chapter 458 or chapter 459, as applicable.” Id. at § 5, lines 207–

09.

      105.   Section 5 provides that violation of the prohibition on providing sex-

reassignment prescriptions and procedures also results in criminal liability: “Any

health care practitioner who willfully or actively participates in a violation of

subsection (1) commits a felony of the third degree, punishable as provided in s.

775.082, s. 213 775.083, or s. 775.084.” Id. at § 5, lines 210–13.

      106. Section 7 creates civil liability for the provision of sex-reassignment

prescriptions or procedures to minors. It provides as follows:

      (1) A cause of action exists to recover damages for personal injury or
      death resulting from the provision of sex reassignment prescriptions or
      procedures, as defined in s. 246 456.001, to a person younger than 18
      years of age which are prohibited by s. 456.52(1).

      (2) The limitations on punitive damages in s. 768.73(1) do not apply to
      actions brought under this section.

      (3) An action brought under this section:
            (a) May be commenced within 20 years after the cessation or
      completion of the sex-reassignment prescription or procedure.
            (b) Is in addition to any other remedy authorized by law.

      (4) The cause of action created by this section does not apply to:
             (a) Treatment with sex-reassignment prescriptions if such
      treatment is consistent with s. 456.001(9)(a)1. or 2. and was commenced
      on or before, and is still active on, the effective date of this act.
             (b) Sex-reassignment prescriptions or procedures that were ceased
      or completed on or before the effective date of this act.

Id. at § 7, lines 241–61.
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IV. The Transgender Medical Bans Will Irreparably Harm the Plaintiffs

      Jane Doe and her daughter Susan Doe

      107. Susan Doe is an eleven-year-old transgender girl who resides with her

mother, Jane Doe, her father, and her three siblings in St. Johns County, Florida.

      108. From an early age, Susan began telling her parents that she is a girl. She

began living fully as a girl, with the support of her family and upon advice of her

pediatrician by the time she started kindergarten.

      109. Susan has been diagnosed with gender dysphoria and that diagnosis has

been confirmed by many doctors, including her doctor at the Pentagon. Susan has not

been prescribed puberty blockers or hormones to treat her gender dysphoria.

      110. Susan’s medical providers, including her pediatrician, pediatric

endocrinologist, and medical provider on base, continue to monitor her treatment and

concluded that it likely will be medically necessary for her to begin puberty blocking

medications after she begins puberty, which is imminent. The transgender medical

bans, however, will prevent her from obtaining treatment.

      Brenda Boe and her son Bennett Boe

      111. Bennett Boe is a fourteen-year-old transgender boy who resides in

Alachua County, Florida, with his mother, Brenda Boe.

      112. Bennett has known that he was not a girl since the third grade. After he

began puberty and started experiencing the accompanying physical changes, Bennett


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grew increasingly distressed by the mismatch between his body and his sense of

himself as a boy. Around that time, Bennett experienced debilitating depression,

culminating in an incident of self-harm resulting in hospitalization.

        113. Bennett’s mother Brenda took Bennett to see medical professionals who

diagnosed Bennett with gender dysphoria and recommended treatment, including

menstrual suppression medication. With Brenda’s consent, Bennett began treatment

which has considerably alleviated his depression.

        114. Even with that treatment, Bennett continues to experience gender

dysphoria as a result of continued pubertal development inconsistent with his sense of

himself as a boy.

        115. Bennett’s doctors believe it may be medically necessary for him to begin

hormone therapy after he turns sixteen.

        116. Brenda and Bennett fear that the transgender medical bans will prevent

him from being able to treat his ongoing symptoms of gender dysphoria with hormone

therapy.

        Carla Coe and her daughter Christina Coe

        117. Christina Coe is a nine-year-old transgender girl, and one of three triplets,

who resides in Duval County, Florida with her mother, Carla Coe, her father, and her

siblings.

        118. From an early age, Christina began to say to her parents that she is a

girl.
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        119. At age five Christina began to express distress including suicidal ideation

and a desire to harm herself.

        120. Since entering the third grade, Christina has been living as a girl in all

aspects of her life. She has not expressed a renewed desire to harm herself.

        121. Carla and her husband fear that Christina will not be able to get the

medical care she needs after she begins puberty because of the transgender medical

bans.

        Fiona Foe and her daughter Freya Foe

        122. Freya Foe is a ten-year-old transgender girl who resides with her mother,

Fiona Foe, her father, her grandmother, and her two siblings in Orange County,

Florida.

        123. As soon as she could walk and talk, Freya was very feminine in her self-

expression, including her choices of clothing and toys.

        124. As she grew older, Freya began to express distress about being seen as a

boy. Fiona and her husband took Freya to see a psychologist who diagnosed her with

gender dysphoria.

        125. Shortly before her tenth birthday, Freya’s doctor examined her and

determined that she had reached Tanner Stage 2, meaning puberty is in progress. In

the months preceding this examination, Freya had begun to express distress about the

onset of puberty and her performance in school began to decline.

        126. In December 2022, Freya’s doctors determined that puberty blocking
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medication was medically necessary for the treatment of her gender dysphoria. With

the consent of her parents, Freya began puberty blocking medication. Since then,

Freya’s overall wellbeing and performance in school have improved.

       127. The transgender medical bans will prevent Freya’s medical providers

from prescribing hormones to allow her to go through female puberty, medication she

may need as her peers continue to develop through puberty.

       Gloria Goe and her son Gavin Goe

       128. Gavin Goe is an eight-year-old transgender boy who resides with his

mother, Gloria Goe, his father, and his siblings in Lee County, Florida.

       129. Gavin identified as a boy a very young age, pointing to photographs of

boys to let others around him know how he felt. Eventually, he asked his parents why

he could not have a boy’s name and why people did not believe he was a boy.

       130. Gradually over time, Gavin’s parents supported him in taking steps to live

more fully as a boy.

       131. By the time Gavin entered first grade, he was living as a boy in all aspects

of his life.

       132. Gavin was assessed for gender dysphoria by his pediatrician in 2022, who

referred Gavin to a pediatric endocrinologist for further assessment and treatment

because of Gavin’s age, development, and family history.

       133. Gloria made an appointment for Gavin with the pediatric endocrinologist

at a clinic for March of 2023. She learned, just before the appointment, that it was
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cancelled because the clinic is no longer seeing new patients due to the transgender

medical bans.

      134. Gloria and Gavin know that irreversible changes can happen in Gavin’s

body at any time due to the onset of puberty and that he needs to be assessed regularly

by a pediatric endocrinologist to determine if and when he needs puberty blockers to

effectively treat his gender dysphoria.

      Linda Loe and her daughter Lisa Loe

      135. Lisa Loe is an eleven-year-old transgender girl who resides with her

mother, Linda Loe, her father, and her sibling in Miami-Dade County, Florida.

      136. As a child, Lisa identified closely with her female friends and strongly

preferred toys and activities more commonly associated with girls.

      137. At age nine, Lisa said that she knew she was a girl.

      138. Lisa’s parents took her to see a psychologist who assisted them in

supporting Lisa to live consistently with her gender identity.

      139. Lisa was evaluated in Fall of 2022 by a pediatric endocrinologist who

confirmed her diagnosis of gender dysphoria and recommended that she return for

another appointment in six months because she was likely to start puberty soon.

      140. Lisa was evaluated again in March of 2023 and her doctor confirmed that

she has reached puberty and advised that it would be necessary to begin puberty

blockers within approximately three months. The doctor also advised that the

transgender medical bans made it impossible for the doctor to prescribe puberty
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blockers to Lisa.

         141. Irreversible changes are occurring in Lisa’s body at this time, which are

causing her significant distress. Lisa and her family cannot meet her urgent medical

needs because of the barriers they are facing in Florida finding the medical care she

needs.

         Patricia Poe and her son Paul Poe

         142. Paul Poe is a nine-year-old transgender boy who resides with his mother,

Patricia Poe, and his sister in Miami-Dade County, Florida.

         143. From a young age, Paul began asking consistently to use the boys’

bathroom and to be referred to as a boy and a brother.

         144. Paul began wearing boys’ clothing, using a boy’s name when away from

home, and, with the advice and support of a therapist, living as a boy at school and in

all other aspects of his life.

         145. In late 2022, Paul’s body began changing with the onset of puberty.

Patricia took him to see a pediatric endocrinologist who determined that Paul was far

enough along in puberty that he may need puberty blockers. The pediatric

endocrinologist recommended that Paul see a psychologist to confirm his medical need

for puberty blockers.

         146. In February 2023, a psychologist evaluated Paul and determined that he

needs to begin treatment with puberty blockers to alleviate his gender dysphoria. Paul

began treatment at that time.
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      147. Shortly thereafter, Paul’s pediatric endocrinologist told Patricia that the

endocrinologist was unable to continue prescribing or monitoring the treatment in light

of the transgender medical bans. Paul’s family must find medical providers outside

of Florida to secure the care he needs which presents a hardship to the family and

potential harms because of disruption to the continuity of his care, as long as the

transgender medical bans are in effect.

                               CLAIMS FOR RELIEF

                                       COUNT I
                       Deprivation of Substantive Due Process
        Parent Plaintiffs Against All Defendants in Their Official Capacities
        Violation of Parent Plaintiffs’ Right to Direct the Upbringing of Their
                                 Adolescent Children
                               U.S. Const. Amend. XIV

      148. The Plaintiffs incorporate paragraphs 1–147 of the Second Amended

Complaint as if set forth fully herein.

      149. The Parent Plaintiffs bring this Count against all Defendants.

      150. The Fourteenth Amendment to the United States Constitution protects the

rights of parents to make decisions “concerning the care, custody, and control of their

children.” Troxel v. Granville, 530 U.S. 57, 66 (2000) (plurality). That fundamental

right includes the liberty to make medical decisions for their minor adolescent

children, including the right to obtain medical treatments that are recognized to be

safe, effective, and medically necessary to protect their adolescent children’s health

and well-being.


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          151. The transgender medical bans violate this fundamental right by

preventing the Parent Plaintiffs from obtaining medically necessary care for their

minor adolescent children.

          152. By intruding upon parents’ fundamental right to direct the upbringing of

their adolescent children, the transgender medical bans are subject to strict scrutiny.

          153. The Defendants have no compelling justification for preventing parents

from ensuring their adolescent children can receive essential medical care. The

transgender medical bans do not advance any legitimate interest, much less a

compelling one.

                                         COUNT II
                               Deprivation of Equal Protection
                   All Plaintiffs Against All Defendants in Their Official
                                          Capacities
                                   U.S. Const. Amend. XIV

          154. The Plaintiffs incorporate Paragraphs 1–147 of the Second Amended

Complaint as if set forth fully herein.

          155. Plaintiffs bring this Count against all Defendants.

          156. The Equal Protection Clause of the Fourteenth Amendment, enforceable

pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any person within

its jurisdiction the equal protection of the laws.” U.S. Const. Amend. XIV, § 1.

          157. The transgender medical bans single out transgender minors and prohibit

them from obtaining medically necessary treatment based on their sex and transgender

status.
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      158. Under the Equal Protection Clause, government classifications based on

sex are subject to heightened scrutiny and are presumptively unconstitutional.

      159. Transgender-based government classifications are subject to heightened

scrutiny because they are sex-based classifications.

      160. Because transgender people have obvious, immutable, and distinguishing

characteristics, including having a gender identity that is different from their birth sex,

they comprise a discrete group. This defining characteristic bears no relation to a

transgender person’s ability to contribute to society. Nevertheless, transgender people

have faced historical discrimination and have been unable to secure equality through

the political process.

      161. As such, transgender classifications are subject at least to intermediate

scrutiny.

      162. The transgender medical bans do nothing to protect the health or well-

being of minors. To the contrary, the transgender medical bans undermine the health

and well-being of transgender minors by denying them essential medical care.

      163. The transgender medical bans are not narrowly tailored to further a

compelling government interest, substantially related to any important governmental

interest, or even rationally related to a governmental interest. Accordingly, the

transgender medical bans violate the Equal Protection Clause of the Fourteenth

Amendment.



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                             RELIEF REQUESTED

WHEREFORE, Plaintiffs request that this Court:

      (1) issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that the

         transgender medical bans violate the United States Constitution for the

         reasons and on the Counts set forth above;

      (2) temporarily, preliminarily, and permanently enjoin the Defendants and

         their officers, employees, servants, agents, appointees, or successors from

         enforcing the transgender medical bans;

      (3) declare that the transgender medical bans violate the Fourteenth

         Amendment to the United States Constitution;

      (4) award the Plaintiffs their costs and attorneys’ fees pursuant to 42 U.S.C. §

         1988 and other applicable laws; and

      (5) grant such other relief as the Court finds just and proper.


Respectfully submitted this 17th day of May, 2023.

                                                    /s/ Simone Chriss
                                                    Counsel for Plaintiffs




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                          CERTIFICATE OF SERVICE


      I hereby certify that, on May 17, 2023, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system. I further certify that I served by

process server the foregoing on the following non-CM/ECF participants:

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